Case 3
JS 44 (Rev, 12/07)

The JS 44 civil cover sheet and the information contained herein neither
by local rules of court. This form, approved by the Judicial Conference o

:09-cv-01839-O Document 1-2
CIVIL C

the United

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

Filed 09/29/09 Pagelofi1 PagelD8
OVER SHEET

replace ner supplement the filing and service of pleadings or other papers as required by law, except as provided

tates in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

I. (a) PLAINTIFFS
EVOL, INC.

(b) County of Residence

of First Listed Plaintiff Dallas

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(¢) Attorneys (Firm Name, Address, and Telephone Number)

David W. Carstens, Casey L. Griffith, Carstens & Cahoon, LLP,
13760 Noel Ra., Ste. 900 Dallas, TX 75240 Tel: 972.367.2001

County of Residence of First Listed Defendant

SUPPLEMENT SERVICES, LLC d/b/a MUSCLEMEDS-.

GN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

II. BASIS OF JURISDICTION = (Place an “X” in One Box Only)

O 1 U.S. Government

Plaintiff

O2 U.S. Government
Defendant

3 Federal Question
(US. Government Not a Party)

O 4 Diversity
(Indicate Citizenship of Parties in Item TI}

FV, NATURE OF SUIT (Pisce an “Xx” in One Box On

LAND INVOLVED,
Attomeys (If Known)
Hi. CITIZENSHIP OF PRINCIPAL PARTIES @iace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)

DEF PTF DEF

Citizen of This State O 1 © 1 _ Incorporated or Principal Place o4 04

of Business In This State
Citizen of Another State O2 © 2 Incorporated and Principal Place ao5 05
of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation O6 O86
Foreign Country

110 Insurance PERSONAL INJURY PERSONAL INJURY = {07 610 Agriculture OG 422 Appeat 28 USC 158 OQ 400 State Reapportionment
© 120 Marine O 310 Airplane O 362 Personal Injury - 0 620 Other Food & Drug O 423 Withdrawal © 410 Antitrust
O 130 Miller Act OF 315 Airplane Product Med. Malpractice 0 625 Drug Related Seizure 23 USC 157 OC 430 Banks and Banking
OG 140 Negotiable Instrument Liability 1 365 Personal Injury - of Property 21 USC 881 450 Commerce
1 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability 0 630 Liquor Laws 0 460 Deportation
& Enforcement of Judgment Slander O 368 Asbestos Personal 90 640 LR. & Truck © 470 Racketeer Influenced and
0 151 Medicare Act 0 330 Federal Employers’ Injury Product OG 650 Airline Regs. O 830 Patent Corrupt Organizations
07 152 Recovery of Defaulted Liability Liability G 660 Occupational 4 840 Trademark OG 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health 0 490 Cable/Sat TY
(Excl. Veterans) O 345 Marine Product O 370 Other Fraad 1 690 Other 810 Selective Service
0 153 Recovery of Overpayment Liability 0 371 Truth in Lending (1 850 Securities‘/Commodities/
of Veteran’s Benefits O 350 Motor Vehicle O 380 Other Personal o air (1395f) Exchange
OF 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) OG 875 Customer Challenge
(7 190 Other Contract Product Liability (1 385 Property Damage | 720 Labor/Mgmt Relations {0 863 DIWC/DIWW (405(2)) 12 USC 3410
G 195 Contract Product Liability {0 360 Other Personal Product Liability O 730 Labor/Mgmt.Reporting § |) 864 SSID Title XVI 0 890 Other Stamtory Actions
C196 Franchise Inj & Disclosure Act Oo O 891 Agricultural Acts
OF 740 Railway Labor Act res 852 Economic Stabilization Act
© 210 Land Condemnation O 441 Voting 510 Motions to Vacate [7 790 Other Labor Litigation © 870 Taxes (U.S. Plaintiff OG 893 Environmental Matters
G 220 Foreclosure O 442 Employment Sentence OF 791 Empl. Ret. Inc. or Defendant) O 854 Energy Allocation Act
CO 230 Rent Lease & Ejectment {1 443 Housing/ Habeas Corpus: Security Act © 871 IRS—Third Party G 895 Freedom of Information
© 240 Torts to Land Accommodations 1} 530 General 26 USC 7609 Act
0 245 Tort Product Liability O 444 Welfare C535 Death Penalty G S900Appeal of Fee Detennination
0 290 All Other Real Property [0 445 Amer, w/Disabilities - (1 $40 Mandamus & Other |U 462 Naturalizabon Application Under Equal Access
Employment J 550 Civil Rights 0 463 Habeas Corpus - to Justice
O 446 Amer. w/Disabilities - (555 Prison Condition Alien Detainee (950 Constitutionality of
Other O) 465 Other Immigration State Statutes
O 440 Other Civil Rights Actions :
¥. ORIGIN (Place an “X” in One Box Only) Appeal to District
G1 Original J) 2 Removedfrom (J 3 Remandedfrom  () 4 Reinstated or CJ 5 Transformed tom ry 6 Multidistrict C7 juaee fom
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION

cj LS. Ciyil under which you are filin: not cite jurisdictional statutes unless diversity):
Ee TS . @ Do not cite jurisdiction "

Brief description oO
False a

of cause: . as
vertising and untair competition

VII. REQUESTED IN

O CHECK IF THIS IS A CLASS ACTION

DEMAND §$

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: @Yes ONo
VIII, RELATED CASE(S) . .
IF ANY (See instuctions): TUDGE DOCKET NUMBER
DATE IGNATURE OF ATTORNEY,OF RECORD
09/29/2009 C
FOR OFFICE USE ONLY ?
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

